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Katherine Klimek IN THE LACKAWANNA COUNTY
103 Braclley St. COURT OF COMMON PLEAS
Old Forge, PA 18518,
Civil Action
Plaintiff
V_ NO_ 5;@/ g-c w a/ 39
Synchrony Bank Jury Trial Demanded
170 West Election Road, Suite 125
Draper, UT 84020, m w §
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Defendant l H:q:e w 3>;‘,`5.'
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You have been sued in court. If you wish to defend against the claims se_i fdrth,\gi tli§;:
following pages you must take action within twenty (20) days after this compléi?rit:and..not@'<‘re
served by entering a written appearance personally or by attorney and filing in‘Writing L""witl’l""ihe
court your defenses or objections to the claims set forth against you. You are warned that if you
fail to do so the case may proceed without you and a judgment may be entered against you by the
court without further notice for any money claimed 1nthe complaint or for any other claim or
relief requested by plalntiff(s). You may lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUl|K LAWYER A'f ONCE. IF YOU DO
NOT HAVE A LAWYER, GO TO OR TELEPHONE T|HE OFFICE SET FORTI-l BELOW. ‘
THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWYER. \'

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE
TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT l\./IAY OFFER
LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR\‘lNO FEE.

NoRTI-IEASTERN PENNSYLVANIA LEGAL sERVICES, IN_C.
33 NoRTH MAIN sTREET, sUITE 200
PITTSToN, PA 18640

TELEPHONE (570) 299 4100

(570) 342-0184 "

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Katherine Klimek, IN THE LACKAY\YANNA COUNTY
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No.
Synchrony Bank, Jury Trial Demanded
Defendant
COMPLAINT
l. INTRODUCTION
l. This is an action for damages brought by an individual consumer for violations of the

Te]ephone Consumer Protection Act, 47 U.S.C. § 227 (hereinafter “the Act”). Defendant made
multiple calls to P]aintiff on a number assigned to a cellular telephone service using equipment
regulated by the Act.
ll. JURISDICTION AND VENUE

2. Jurisdiction of this Court arises under 47 U.S.C. § 227(b)(3), Which permits an action
for a violation of the Act to be brought in an appropriate state court.

3. Venue in this Court is proper in that Plaintiff resides here, the conduct complained of
occurred here, and Defendant transacts business here.

lII. PART.IES

4. Plaintiffis a natural person residing at l03 Bradley St., Old Forge, PA 18518.

5. Det`endant, Synchrony Bank, is a bank with a place of business located at 170 West
Election Road, Suite 125, Draper, `UT 84020. At all relevant times, Det`endant placed calls to

individuals in this state.

 

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lV. STATEMENT OF CLAIM

 

6. Plaintiff is, and at all relevant times was, a “person” as defined by 47 U.S.C. §
153(39).

7. Defendant is, and at ali relevant times was, a “person” as defined by 47 U.S.C. §
153(39).

8. Plaintiff has a cellular telephone number that she has had at all relevant times.

Plaintiff has only used this number as a cellular telephone number, and does not believe that it
was ever ported from a wireline service.

9. `At all relevant times this phone number has been assigned to a cellular telephone
service.

Cocmt l- Violatl`on of the Act

10. The foregoing paragraphs are incorporated herein by reference

ll. Congress enacted the Act to prevent real harm. Congress found that “automated or
pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call” and
decided that “banning” such calls made without consent was “the only effective means of
protecting telephone consumers from this nuisance and privacy invasion.”

12. Defendant caused to be made an unknown number of calls to Plaintifi‘s cell phone
number.

l3. Det`endant’s phone calls harmed Plaintiff by causing the very harm that Congress
sought to _prevent_a “nuisance and invasion of privacy.”

14. Defendant’s phone calls harmed Plairltiff by trespassing upon and interfering with
Plaintiff's rights and interests in Plaintift‘s cellular telephone and Plaintiff‘s cellular telephone

line.

 

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15. Defendant’s phone calls harmed Plaintiff by intruding upon Plaintif`f`s seclusion.

16. The calls made to Plaintiff‘s cell phone were made using either an automatic
telephone dialing system, as that term is defined in 47 U.S.C. § 227(a)(1), or an artificial or
prerecorded voice. The factual allegations in this paragraph are likely to have evidentiary support
after a reasonable opportunity f`or further investigation and discovery.

]7. These telephone calls were not made for “emergency purposes”, as defined in 47
C.F.R. § 64.1200. v

18. These telephone calls Were not made with the Plaintiff`s prior express consent.

l9. These telephone calls were placed while Plaintiff was in the United States.

20. Pursuant to 47 U.S.C. § 227(b)(3), Plaintif`f is entitled to an award of $500.0() in
statutory damages for each and every call Defendant caused to be made to Plaintiff‘s cellular
telephone number.

2]. Plaintiff is also entitled to increased damages`, as these calls were made willfully
and/or knowingly The factual allegations in this paragraph are likely to have evidentiary support
after a reasonable opportunity for further investigation and discovery.

22. For each violation that was made willfully and/or knowingly, the Court may, in its
discretion, increase the amount of the award to an amount equal to, but not more than, $1,500.00
per call.

WHEREFORE, Plaintiff demands judgment against Defendant f`or statutory damages
between $500.00 and $1,500.00 per call, costs, equitable relief, and such other and further relief

as the Court deemsjust and proper.

 

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V. DEMAND FOR JU RY TRIAL

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Plaintiff demands a trial by jury as to all issues so triable. L A[;;{;B_liivti;!w§i;`%t@£@§]~\f

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Brett`Freeman CLERKS Gi~` JUDiClA
Bar Number: PAR§MS ClVll_ DiVlSl|-UN

Sabatini Freeman, LLC
216 N. Blal<ely St.
Dunmore, PA 18512
Attorney for Plaintiff
Phone (570) 341-9000

 

CERTIFICATION OF COMPLIANCE

1 certify that this filing complies with the provisions of the Pubfr`c Access Policy of the
Unffi`ed Jua'i'cia[ System of Pennsylvam`a: Ca,se Recora's ofthe Appell'ate and Trz`al Courts that

require filing confidential information and documents differently than non-confidential

information and documents ”\(/

Brett Freeman

Bar Number: .PA 308834
Sabatini Freeman, LLC
216 N. Blakely St.
Dunmore, PA 18512
Attorney for Plaintiff
Phone (570) 341-9000

 

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Verification of Complaint and Certification
by Plaintiff Katherine Klimek

Plaintiff, Katherine Klimek, being duly sworn according to law, deposes as follows:
1. I am the plaintiff in this civil proceeding

2. l have read the above-entitled civil Complaint prepared by my attorneys and I

 

believe that all of the facts contained in it are true, to the best of my knowledge, information and

belief formed after reasonable inquiry.

3. I believe that this civil Complaint is well grounded in fact and Warranted by
existing law or by a good faith argument for the extension, niodiiication, or reversal of existing

law.

4. I believe that this civil Complaint is not interposed for any improper purpose,
such as to harass the Defendant, cause unnecessary delay to the Defendant, or create a needless

increase in the cost of litigation to the Defendant, named in the Complaint.
5. I have filed this civil Complaint in good faith and soler for the purposes set forth
in it.

I declare under penalty of perjury that the foregoing is true and correct

Executed on Aer lO , zois.M
_"'_ i'

Katherine Klimek, Plaintiff

 

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SABATINI FREEMAN. iii 1C

CARLo SABATINI* 216 N. Blakely St.
KRIsTIN SABATINI - Dunmore, PA 18512
BRET:I FREEMAN Phone: {570) 341-9000

Fax: (570) 504-2769
Satel]ite Office: Wilkes-Barre 323-9000

April 11, 2018
Synchrony Bank
170 West Election Road, Suite 125
Draper, UT 84020

Via Certified Mail Return Receipt Requested
RE: Katherine Klimek vs. Synchrony Bank

Lackawanna County Court of Common Pleas
Docket: 2018-ev-2188

 

Dear Sir or Madam:

Enclosed please find the complaint in the above-referenced matter. Thank you for your
anticipated cooperation

Sincerely yours,

dark

Brett M. Freeman

B F/smd

* Boatd Cert'lfted - COnS\lmer Bankruptcy Law - American Board of Certification

 

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